                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION


STEPHANIE KAY GREEN                                                                     PLAINTIFF


VS.                                                  CIVIL CASE NO.: 3:20-cv-5-DMB-JMV


ANDREW SAUL
COMMISSIONER OF SOCIAL SECURITY                                                         DEFENDANT


                          ORDER DIRECTING FILING OF BRIEFS

       This action to review the final decision of the Secretary of Health and Human Services

has been referred to the undersigned for review and report and recommendations under 28

U.S.C. §636(b) and L.U.CIV. R. 72, and defendant now has filed an answer, together with a

certified copy of the transcript of the administrative proceedings. It is, therefore,

       ORDERED

(1)    Counsel (or plaintiff if unrepresented) must confer and respond as ordered by the court
       regarding consent to the jurisdiction of the magistrate judge.

(2)    Counsel (or plaintiff) must submit memorandum briefs in accordance with the following
       requirements:

       (a) Plaintiff must file and serve within 30 days from this date a memorandum brief setting
       forth all errors which plaintiff contends entitle plaintiff to relief. The brief must contain
       the following under the appropriate headings:

               (i) A statement of the exact issues presented for review, set forth in separate
               numbered paragraphs.

               (ii) A statement of the case. This statement must indicate briefly the course of the
               proceeding and its disposition at the administrative level and set forth a general
               statement of the facts. This statement of facts must include plaintiff’s age,
               education and work experience; a summary of the physical and mental impairments
               alleged; a brief outline of the medical evidence; and a brief summary of other
       evidence of record. Each statement of fact must be supported by reference to the
       court docket number, docket exhibit number and page number in the searchable
       page navigation toolbar of the PDF reader [NOT the Administrative Record page




       number] where the evidence may be found (see example below).


       (iii) An argument. The argument may be preceded by a summary. The argument
       must be divided into sections separately treating each issue and must set forth
       plaintiff’s contentions relating to the issues presented and reasons for those
       contentions. Each contention must be supported by specific reference to the portion
       of the federal court record relied upon and by citations to statutes, regulations and
       cases supporting plaintiff’s position. Cases from other districts and circuits should
       be cited only in conjunction with relevant cases from this jurisdiction or if authority
       on point from this jurisdiction does not exist. Citations to unreported district court
       opinions must be accompanied by a copy of the opinion. If plaintiff has moved for
       remand to the Secretary for further proceedings, the argument in support must set
       forth good cause for remand. Furthermore, if the remand is for the purpose of
       taking additional evidence, plaintiff must attach that evidence to the brief; if the
       evidence is in the form of a consultative examination sought at government
       expense, plaintiff must proffer the nature of the evidence counsel believes will be
       obtained.

       (iv) A short conclusion stating the relief sought.

(b) The issues before the court are limited to the exact issues properly raised in the
briefs. Any issue raised in the briefs but not discussed at oral argument, if one is held, will
be deemed abandoned.

(c) Within 30 days after service of plaintiff’s brief, defendant must serve and file a brief
which responds specifically to each issue raised by plaintiff. Defendant’s brief must
conform to the requirements set forth above for plaintiff’s brief, except that a statement of
the issues and a statement of the case need not be made unless defendant is dissatisfied
with plaintiff’s statement.

(d) Plaintiff may file a serve a brief in reply to the defendant’s brief within 14 days of
service of defendant’s brief.
(3)   Unless otherwise ordered, oral argument will be held in this action before the undersigned
      Magistrate Judge Jane M. Virden in Courtroom 2, Third Floor, United States Courthouse,
      Greenville, Mississippi, and/or by video conference from the U.S. Attorney's Office in
      Oxford, Mississippi, on a date and time to be determined. At oral argument counsel must
      be fully prepared to argue the facts, issues and legal contentions in this case.

      THIS, the 12th day of March, 2020.


                                           /s/ Jane M. Virden           _____
                                           UNITED STATES MAGISTRATE JUDGE




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